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                               UNFI’EI) STATES DISTRICT COURT
                              FOR THE l)ISTRI(’T OF NEW JERSEY




UNITET) STATES OF AMERICA,
                                                                    No. 09-cr-130 (PGS)

                         v.
                                                                           ORI)ER

DALNAVE NAVIGATION, INC.,
PANAGIOTIS STAMATAKIS, AND
i)IMITRIOS PAPADAK1S.



           WHEREAS. this matter comes before the Court on a motion to dismiss the indictment

brought by Defendant I)imitrios Papadakis, filed April 2. 2009 (Docket Entry 49), The motion

was joined by Defendants Mr. Stamatakis and Dalnave Navigation. Inc. and opposed by’ the

United States:

       WHEREAS the Court has found that the indictment plus the additional facts provided by

the government in its March 3 1, 2009 letter satisfies the requirements set forth in Federal Rule of

Criminal Procedure 7(c)(l), and Defendants have sufficient facts upon which to prepare a

defense;

       NOW THEREFORE, it is on this 1 5th day of April. 2009:

       ORDERFI) that the motion to dismiss the indictment is denied.



                                                       I..
                                                     PETER 0. SHERIDAN. U.S1)J.
